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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               v.

ROGER JASON STONE, JR.,                   Crim. No. 19-018 (ABJ)



                    Defendant.



                     UNOPPOSED MOTION FOR
              PROTECTIVE ORDER GOVERNING DISCOVERY

      Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United

States of America, by and through Special Counsel Robert S. Mueller, III, hereby

moves for entry by this Court of a protective order that will ensure the confidentiality

of personal identification information and discovery that are included within the

materials to be produced by the government pursuant to its discovery obligations.

      Entry of a protective order restricting the use, dissemination, and disposition

of such documents is essential to permit the United States to provide discovery to the

defendant while protecting, among other things, personal information and other

confidential materials.    The United States has conferred with counsel for the

defendant, Roger J. Stone, Jr., and the defendant consents to the proposed Protective

Order, a copy of which is submitted with this application.

      WHEREFORE, the government respectfully moves the Court to enter the

proposed Protective Order Governing Discovery.
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                                Respectfully submitted,


ROBERT S. MUELLER III                        JESSIE K. LIU
Special Counsel                              United States Attorney

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Dated: January 31, 2019




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